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sYsTEMs, INC., )
Plaintiff, §
v. i No. 03-2330 Ma/A
viCoN INDUSTRIES, 1NC., er ai., i
Defendants. §
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Bet`ore the Court is the June 7, 2005 letter from P]aintift`s counsel. Plaintiff requests that
the Court conduct an emergency telephone conference in this matter

On May 25 , 2005 , the Court entered an Order permitting Plaintiff a set amount of hours
to continue deposing Defendant Bosch Security Systems, Inc.’s (“Bosch”) Rule 30(b)(6)
witnesses In Plaintift`s letter, Plaintiff’ s counsel Writes that Bosch has produced more than 189
boxes of documents Within the previous month and Writes that “Bosch has refused to make
Bosch witnesses available for individual deposition on the previously Withheld documents.”
Plaintiff wants to depose five Bosch designees outside the scope of the Rule 30(b)(6) deposition
topics, and Plaintit`f has asked the Court to “compel Bosch to make . . . [the designees} available
for deposition next Week, each individual deposition not to exceed three hours.” Bosch
responded to the June 7, 2005 letter on June 8, 2005. ln their response Bosch states that it has

agreed to produce Rule 30(b)(6) Witnesses, but Bosch objects to Plaintiff being permitted to take

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any new individual depositions when it has been almost five months since the close of fact
discovery

After reviewing Plaintift”s letter dated June 7, 2005 and Bosch’s letter dated June 8,
2005, the Court denies Plaintiff`s request for the Court to conduct an emergency telephone
conference Additi.onally, the Court’s May 25, 2005 Order shall remain in effect, and Plaintiff’ s
request that the Court allow additional time for Plaintiff to conduct individual depositions of five
Bosch witnesses is denied.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Date. ,
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